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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Katherine Devine, at al.         :    CIVIL ACTION
                                 :    NO. 20-02417
          Plaintiffs,            :
     v.                          :
                                 :
Northeast Treatment              :
Centers, Inc.,                   :
                                 :
          Defendant.             :

                                 ORDER

          AND NOW, this 14th day of October, 2021, after

considering the parties’ Joint Motion to Approve the Settlement

Agreement (ECF No. 46), and finding that the settlement reached

between the parties represents a fair, reasonable, and adequate

resolution of Plaintiffs’ claims against Defendant, it is hereby

ORDERED that:

          1. The parties’ Joint Motion to the Approve Settlement

            Agreement (ECF No. 56) is GRANTED;

          2. The Settlement is APPROVED; and

          3. All claims having been adjudicated or settled, the

            case shall be MARKED CLOSED.



          AND IT IS SO ORDERED.



                           /s/ Eduardo C. Robreno
                           EDUARDO C. ROBRENO, J.
